        Case 8-17-74291-las              Doc 15        Filed 02/08/18    Entered 02/08/18 14:54:24




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7

Shazia P. Rizwan,                                                       Case No. 8-17-74291-las

                                       Debtor.
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                      ORDER PURSUANT TO 11 U.S.C. ' 362(d)(2) VACATING
                      THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. ' 362(a)

         Upon the motion, dated August 30, 2017 (the “Motion”) [dkt. no. 8], of Fay Servicing

LLC as servicer for U.S. ROF II Legal Title Trust 2015-1, by U.S. Bank National Association,

as Legal Title Trustee (the “Creditor”), for an order, pursuant to section 362(d) of title 11 of

the United States Code (the “Bankruptcy Code”), vacating the automatic stay imposed in the

above-captioned case by section 362(a) of the Bankruptcy Code as to the Creditor=s interest

in 15 Yellow Top Lane, Smithtown, New York 11787 a/k/a 17763 (the “Property”) to allow the

Creditor=s enforcement of its rights in, and remedies in and to, the Property; and due and

proper notice of the Motion having been made on all necessary parties; and there being no

opposition to the Motion; and upon all the proceedings had before the Court; and after due

deliberation and sufficient cause appearing; it is hereby

         ORDERED that the Motion is granted as provided herein; and it is further

         ORDERED that the automatic stay imposed in this case by section 362(a) of the

Bankruptcy Code is vacated under section 362(d)(2) of the Bankruptcy Code as to the

Creditor's interest in the Property to allow the Creditor=s enforcement of its rights in, and

remedies in and to, the Property; and it is further




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       ORDERED that the Creditor shall notify the chapter 7 trustee of any surplus monies

realized by any sale of the Property within ten (10) days of such sale.




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 Dated: February 8, 2018                                           Louis A. Scarcella
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        Central Islip, New York                             United States Bankruptcy Judge
